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                                   MEMORANDUM ENDORSED
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Application granted. The Clerk of Court is directed to consolidate this action with 1:20-cv-1234-GHW, and
further directed to terminate the motion pending at Dkt. No. 27.
SO ORDERED.
Dated: November 5, 2020
New York, New York                               _____________________________________
                                                        GREGORY H. WOODS
                                                       United States District Judge
